Case 2:03-cV-02662-.]P|\/|-de Document 32 Filed 05/06/05 Page 1 of 2 Page|D 51

  

IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT 0F TENNEssEE 35 1'"?,[;‘-;“ -5 §H 19; cg
wEsTERN D:chsIoN

 

 

GARY W. CLEMONS, on behalf of
himself and all other employees
of U.S. Concrete Company
similarly situated,

Plaintiffs,
v. Nb. 03-2662 Ml/V
TITAN CONCRETE INDUSTRIES
(f/k/a CARRIER CONCRETE &

Defendant.

 

ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION FOR 30-DAY CONTINUANCE

 

Before the Court is Defendant’s Unopposed Motion for BO-Day
Continuance, filed May 5, 2005. Good cause having been shown, the
Court GRANTS the motion and RESETS the trial dates as follows:
Trial: The trial in this matter is set to begin: Mondayl July 25[
2005, at 9:30 a.m. in courtroom no. 4.

Pretrial Conference: A pretrial conference is set for Mondayl July
18, 2005, at 8:45 a.m.
Pretrial Order: The pretrial order is due by no later than 4:30

p.m. on Mondav. Julv ll, 2005.

So ORDERED this (O th day of May, 2005.

QMQ~QQ\,
JO P. MCCALLA
U ITED STATES DISTRICT JUDGE

 

 

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This notice confirms a copy of the document docketed as number 32 in
case 2:03-CV-02662 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

